      Case 3:21-cv-00187-ECM-KFP Document 8 Filed 05/27/21 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              EASTERN DIVISION

UMAR CLARK,                                   )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )   CASE NO. 3:21-CV-187-ECM-KFP
                                              )
CARVANA and BRIDGECREST,                      )
                                              )
       Defendants.                            )

              RECOMMENDATION OF THE MAGISTRATE JUDGE

       Plaintiff has filed four lawsuits in this Court against various defendants who tried

collecting money Plaintiff allegedly owed them. In this lawsuit, he contends Carvana and

Bridgecrest violated the Fair Debt Collection Practices Act and the Truth in Lending Act.

See Doc. 1. Upon screening Plaintiff’s Complaint and based on deficiencies in the

Complaint, the Court ordered Plaintiff to file an amended complaint by May 17, 2021. Doc.

7 at 6. The Court provided Plaintiff specific instructions as to filing the amended complaint

and warned Plaintiff that his failure to file an amended complaint may result in a

recommendation that this case be dismissed. Id.

       The Court’s deadline has passed, and Plaintiff has not filed an amended complaint

as the Court ordered. This failure reflects a lack of interest in prosecuting this case. This

case cannot proceed without Plaintiff’s participation. Under these circumstances, the Court

finds that lesser sanctions than dismissal are not appropriate. See Abreu-Velez v. Bd. of

Regents of Univ. Sys. of Ga., 248 F. App’x 116, 117–18 (11th Cir. 2007). Thus, this case

is due to be dismissed. Tanner v. Neal, 232 F. App’x 924 (11th Cir. 2007) (affirming sua
       Case 3:21-cv-00187-ECM-KFP Document 8 Filed 05/27/21 Page 2 of 3




sponte dismissal without prejudice of plaintiff’s action for failure to file amended

complaint in compliance with court’s order and warning of consequences for failure to

comply); Moon v. Newsome, 863 F.2d 835, 837 (11th Cir. 1989) (holding that, as a general

rule, where a litigant has been forewarned, dismissal for failure to obey a court order is not

an abuse of discretion); see also Link v. Wabash R.R. Co., 370 U.S. 626, 629–31 (1962)

(acknowledging that the authority of courts to impose sanctions for failure to prosecute or

obey an order is longstanding and empowers courts “to manage their own affairs so as to

achieve the orderly and expeditious disposition of cases”); Mingo v. Sugar Cane Growers

Co-Op of Fla., 864 F.2d 101, 102 (11th Cir. 1989) (holding that a district court “possesses

the inherent power to police its docket” and that “sanctions imposed [upon dilatory

litigants] can range from a simple reprimand to an order dismissing the action with or

without prejudice”).

       Accordingly, it is the RECOMMENDATION of the Magistrate Judge that this case

be dismissed without prejudice for Plaintiff’s failure to file an amended complaint as

ordered by the Court. It is further

       ORDERED that on or before June 10, 2021, the parties may file objections to the

Recommendation. The parties must specifically identify the factual findings and legal

conclusions in the Recommendation to which objection is made. Frivolous, conclusive, or

general objections will not be considered by the Court. The parties are advised that this

Recommendation is not a final order and, therefore, is not appealable.

       Failure to file written objections to the Magistrate Judge’s findings and

recommendations in accordance with 28 U.S.C. § 636(b)(1) will bar a party from a de novo


                                              2
      Case 3:21-cv-00187-ECM-KFP Document 8 Filed 05/27/21 Page 3 of 3




determination by the District Court of legal and factual issues covered in the

Recommendation and waive the right of the party to challenge on appeal the District

Court’s order based on unobjected-to factual and legal conclusions accepted or adopted by

the District Court except on grounds of plain error or manifest injustice. Nettles v.

Wainwright, 677 F.2d 404 (5th Cir. 1982); 11TH CIR. R. 3-1. See Stein v. Reynolds Sec.,

Inc., 667 F.2d 33 (11th Cir. 1982); see also Bonner v. City of Prichard, 661 F.2d 1206

(11th Cir. 1981) (en banc).

      DONE this 27th day of May, 2021.




                                  /s/ Kelly Fitzgerald Pate
                                  KELLY FITZGERALD PATE
                                  UNITED STATES MAGISTRATE JUDGE




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